           Case 23-34815 Document 817 Filed in TXSB on 11/18/24 Page 1 of 1
                                                                                        United States Bankruptcy Court
                                                                                            Southern District of Texas

                                                                                               ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                             November 18, 2024
                           FOR THE SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

IN RE:                                                    §
                                                          §        CASE NO: 23-34815
GALLERIA 2425 OWNER, LLC,                                 §
                                                          §
            Debtor.                                       §
                                                          §
                                                          §        CHAPTER 11


                                       ORDER SETTING HEARING

        Emergency consideration is granted. Hearing is set on the Emergency Motion to Enforce
Sale Order (ECF No. 816) at 10:30 a.m. on November 21, 2024, in Courtroom 403, United States
Courthouse, 515 Rusk St., Houston, Texas. The response deadline is 5:00 p.m. on November 20,
2024. Requested relief that is unopposed by written response prior to the response deadline may
be ruled on without the necessity of a hearing. The Court may grant or deny any relief sought in
any motion/application or objection without hearing based on responsive pleadings. The movant
shall serve a copy of this order on all affected parties within 24 hours and file a certificate of
service; or file and serve a hearing notice within 24 hours, which must include the response
deadline.

      Parties should reference the Court’s website for in person hearing requirements and
connection instructions for virtual appearances.1

           SO ORDERED.

            SIGNED 11/18/2024


                                                              ___________________________________
                                                              Jeffrey Norman
                                                              United States Bankruptcy Judge




1
    https://www.txs.uscourts.gov/page/united-states-bankruptcy-judge-jeffrey-p-norman

1/1
